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                     EXHIBIT 12
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                                   4514 Travis Street, Suite 300, Dallas, Texas 75205
                                        Office 214.528.2444♦Fax 214.599.0602
    Andrew A. Bergman
bergman@bergmangray.com

                                                January 5, 2021

          Jerral Wayne Jones
          c/o Jason Cohen, Esq.
          jcohen@DallasCowboys.net

                                 Re: Parentage of Alexandra Davis

          Dear Mr. Jones:

                 This law firm has been retained to represent Alexandra Davis in establishing parentage of
          you as her biological and legal father.

                  As I am sure you are aware, Alexandra’s mother is Cynthia Davis from Arkansas.
          Alexandra is 25 years old. I do not feel it is necessary to go into any detail in explaining why
          Alexandra believes you are her biological father. However, Alexandra is more than willing to
          participate in genetic determination.

                  Texas law provides a relatively simple, non-intrusive, inexpensive, quick procedure for
          establishing parentage if you are willing to cooperate. Hopefully you will avail yourself of this
          opportunity. I am confident that your attorneys can explain the details required under the Uniform
          Parentage Act (the “Act”) for what can be an easy, voluntary process.

                  Please have your legal representative(s) contact me within seven (7) days of the date of this
          letter so we can discuss the least intrusive method for moving forward under the Act for
          determining and establishing this parentage issue. No one is trying to embarrass or harass you in
          any way. Hopefully this can be resolved in an amicable manner, which is certainly Alexandra’s
          intent.

                If I do not hear from you or your legal representatives within the seven (7) days, we will
          assume that you have no interest in cooperating and we will proceed with the legal process.

                 Thank you for your attention to this matter.


                                                        Yours Very Truly,


                                                        Andrew A. Bergman



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